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A O 245D -C A E D (R ev. 09/2011) Sheet 1 - Judgm ent in a C rim inal C ase for R evocation




                                         United States District Court
                                                  Eastern District of California

           UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE
                      v.                                                             (For Revocation of Probation or Supervised Release)
                                                                                     (For Offenses committed on or after November 1, 1987)
               JEREMY ANDERSON
                         (Defendant’s Name)                                          Criminal Number: 2:00CR00218-01


                                                                                     Timothy Zindel, Assistant Federal Defender
                                                                                     D efendant’s A ttorney


THE DEFENDANT:
[U] admitted guilt to violation of charges 1 on 6/21/2012 as alleged in the violation petition filed on 2/10/2012.
[]  was found in violation of condition(s) of supervision as to charge(s)   after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                          Nature of Violation                                             Date Violation Occurred
1                                         New Law Violation                                               2/10/2012




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 4/27/2001.

       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]        Charge(s)           is/are dismissed.


          Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                          6/21/2012
                                                                          Date of Imposition of Sentence




                                                                          Signature of Judicial Officer

                                                                          MORRISON C. ENGLAND, JR., United States District Judge
                                                                          Name & Title of Judicial Officer

                                                                          7/13/2012
                                                                          Date
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A O 245B -CA E D (R ev. 09/2011) S heet 2 - Im prisonm ent
CASE NUMBER:                   2:00CR00218                                                                   Judgment - Page 2 of 4
DEFENDANT:                     JEREMY ANDERSON



                                                             IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of 24 months.




[ U]      The Court recommends that the defendant be incarcerated in the Atwater, California, facility but only insofar as
          this accords with security classification and space availability.


[U]       The defendant is remanded to the custody of the United States Marshal.


[]        The defendant shall surrender to the United States Marshal for this district.
          [ ] at     on     .
          [ ] as notified by the United States Marshal.


[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          [ ] before on        .
          [ ] as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Officer.
          If no such institution has been designated, to the United States Marshal for this district.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                         to

at                                               , with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL



                                                                                             By
                                                                                                     Deputy U.S. Marshal
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A O 245B -CA E D (R ev. 09/2011) S heet 3 - S upervised R elease
CASE NUMBER:                   2:00CR00218                                                                              Judgment - Page 3 of 4
DEFENDANT:                     JEREMY ANDERSON


                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months.


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]        The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)

[U]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
          seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
          she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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A O 245B -CA E D (R ev. 09/2011) S heet 3 - S upervised R elease
CASE NUMBER:                   2:00CR00218                                                               Judgment - Page 4 of 4
DEFENDANT:                     JEREMY ANDERSON


                                      SPECIAL CONDITIONS OF SUPERVISION
          1.    The defendant shall submit to the search of his person, property, home, and vehicle by a United
                States probation officer, or any other authorized person under the immediate and personal
                supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
                Failure to submit to a search may be grounds for revocation. The defendant shall warn any
                other residents that the premises may be subject to searches pursuant to this condition.

          2.    As directed by the probation officer, the defendant shall participate in an outpatient correctional
                treatment program to obtain assistance for drug or alcohol abuse.

          3.    As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
                breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

          4.    The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
                places where alcohol is the chief item of sale.

          5.    As directed by the probation officer, the defendant shall participate in a program of outpatient
                mental health treatment.

          6.    As directed by the probation officer, the defendant shall participate in a co-payment plan for
                treatment or testing and shall make payment directly to the vendor under contract with the
                United States Probation Office of up to $25 per month.

          7.    The defendant shall register, as required in the jurisdiction in which he resides, as a drug
                offender.
